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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION


    DALI WIRELESS, INC.,                                §
                                                        §
                       Plaintiff,                       §
                                                        §
    -v-                                                 §
                                                        §
    CELLCO PARTNERSHIP D/B/A                            §
    VERIZON WIRELESS, VERIZON                           §
    CORPORATE SERVICES GROUP                            §      6:22-cv-00104-ADA
    INC., VERIZON ONLINE LLC,                           §
    COMMSCOPE HOLDING                                   §
    COMPANY, INC., COMMSCOPE,                           §
    INC., COMMSCOPE                                     §
    TECHNOLOGIES LLC, ERICSSON                          §
    INC., TELEFONAKTIEBOLAGET                           §
    LM ERICSSON, CORNING INC.,                          §
    and CORNING OPTICAL                                 §
    COMMUNICATIONS LLC,                                 §
                                                        §
                       Defendants.



                          ORDER APPOINTING TECHNICAL ADVISOR

          The Court finds that the technology in the above-captioned case is exceptionally complex

and warrants the appointment of a technical advisor. This case involves inter alia U.S. Patent No.

10,334,499, which is titled “Distributed Antenna System” and relates to wireless communication

systems employing distributed antenna systems. The patent is classified in fields including

communication routing or path finding. The specification discusses distributed antenna systems,

baseband units and radio resources. Full appreciation of the parties’ upcoming arguments requires

an understanding of wireless communications and antenna systems. 1




1
    This is not a ruling on the skill level of a person of ordinary skill in the art.
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       The Court hereby appoints Darryl J. Adams to serve as the Technical Advisor for the Court

in this case. Given his background and qualifications, the Court is satisfied that Mr. Adams’

appointment pursuant to the terms of this Order would assist the Court in this case. Mr. Adams’

contact information is as follows:

               Darryl J. Adams
               401 Congress Ave., Ste. 1650
               Austin Texas 78701
               E-mail: dadams@sgbfirm.com

       The parties shall send courtesy copies of the following documents no later than one

business day after the date of this order or when such documents are filed:

       (1) Briefs, joint claim construction statement, and patents: In paper form, double-
           sided, stapled or bound (e.g., 3-ring), to the mailing address above,
       (2) Briefs, exhibits, joint claim construction statement, patents, and tutorial: In
           electronic form, on a USB drive, to the mailing address above,
       (3) Word version of the joint claim construction statement: Via e-mail to the above
           email address.

If a document was filed with the Court, the copy must include the CM/ECF header. Please wait

until all claim construction briefs have been filed and send the above documents together.

       Mr. Adams will assist the Court with technical issues related to the claim construction

process and advise the Court regarding preliminary and final claim constructions. Mr. Adams may

also assist the Court in drafting a claim construction order.

       Finally, depending on the needs of the case, Mr. Adams may also assist the Court with

motions for summary judgment, Daubert motions, trial preparation and rulings, post-trial motions,

and any other Court task that requires an appreciation of the complex technology included in the

asserted patents.
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       The parties are ORDERED to notify the Court of any conflicts with Mr. Adams within

seven days of this order.



SIGNED this 10th day of November, 2022.




                                  ALAN D ALBRIGHT
                                  UNITED STATES DISTRICT JUDGE
